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                                      Elizabeth Letcher Hours
                                Castillo v. Nationstar - Fee Petition

Date      Time Category           Task                                         Rate      Amount
                                                                                          Billed
1/13/17   1.6    Fee Petition     Compile authority, fee models, outline       $525.00     $840.00
                                  argument
1/13/17   2.3    Fee Petition     Review, edit, and align hours                $525.00    $1,207.50
1/24/17   2.3    Fee Petition     Compile / sort hours; revise fee             $525.00    $1,207.50
                                  mediation statement
2/2/17    0.3    Fee Petition     telephone call with Will Kennedy to          $262.50      $78.75
                                  discuss mediation
3/9/17    2.5    Fee Petition     Draft declaration in support of fee motion   $525.00    $1,312.50
3/12/17   2      Fee Petition     Draft Declaration in Support of Fee          $525.00    $1,050.00
                                  Motion and citations
3/14/17   3.5    Fee Petition     Draft declaration in support of fee          $525.00    $1,837.50
                                  petition, citations, pull exhibits
3/14/17   0.4    Fee Petition     Communications with potential experts        $525.00     $210.00
                                  re: hourly rates
3/14/17   0.4    Fee Petition     Telephone call with WK re: fee petition      $262.50     $105.00
                                  strategy, drafting
3/16/17   0.3    Fee Petition     Prepare summary of HWH, EL experience        $525.00     $157.50
                                  for Mark Chavez
3/17/17   2.1    Fee Petition     Revise fee motion; additional legal          $525.00    $1,102.50
                                  research
3/17/17   1.2    Fee Petition     Draft portion of Declaration relating to     $525.00     $630.00
                                  accounting, hardship, discovery
3/19/17   4.2    Fee Petition     Draft and reorganize portions of             $525.00    $2,205.00
                                  Declaration relating to discovery - timing
                                  of responses, affirmative discovery,
                                  failures to produce; fill in citations to
                                  record and exhibits for dclaration; revise
                                  motion (parallel work)
3/20/17   1.9    Fee Petition     Revise motion - law on proportionality,      $525.00     $997.50
                                  research Freeman decisions
3/20/17   1.9    Fee Petition     Revise motion - reduction of hours,          $525.00     $997.50
                                  miscellaneous
3/26/17   3.5    Fee Petition     Finalize declaration, exhibits, motion,      $525.00    $1,837.50
                                  hours, coordinating with HWH
Total     30.4                                                                           $15,776.25
